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Attorneysfo)' P/cfu')ztiff,
Edward Arcvalc). .lr.

UNITE[) S'I`A'I`ES DISTRICT COURT

CENTRAL DISTEBC&V §§EE.OF?'; 714 § (5

EI)WARD AREVALO, JR., Case No.:

INDIVIDUALLY AND GN
CLASS ACTION COMPLAINT FOR

BEHALF OF ALL OTHERS
SIMILARLY SI"l`UATED, DAMAGES l~`OR VIOI.,ATIONS ()F:

Plaimif"'f`, (1) 'I`HE FAlR DEBT
COLLECTI()N
v. PRAC'I`ICES ACT, 15 U.S.C.

§ 1692, E'r SEQ.;

(2) cALlF<)RNIA CONSUMER

. CRl~:I)IT REPORT!NG

D€l"~‘nd@nf~ AGI;NCIES ACT, CAL.
Clv. COl)E § 1785.1, ET
SEQ.; AND,

(3) CALIFORNIA BUSINESS
AND PROFESSIONS cODE
§ 17200

JURY TRIAL I)EMANDED

RAZOR CAP|TAL l.I.C,

 

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Case 5:14-cV-00135-.]AK-SP Document 1 Filed 01/22/14 Page 1 of 19 Page |D #:5

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Case 5:14-cV-00135-.]AK-SP Document 1 Filed 01/22/14 Page 2 of 19 Page |D #:6

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INTRODUCTION

The United States Congress has found abundant evidence of the use of
abusive, deceptive, and unfair debt collection practices by many debt
collectors, and has determined that abusive debt collection practices contribute
to the number of personal bankruptcies, to marital instability, to the loss of
jobs, and to invasions of individual privacy. Congress wrote the Fair Debt
Collection Practices Act, 15 U.S.C. § 1692 et seq, to eliminate abusive debt
collection practices by debt collectors, to insure that those debt collectors who
refrain from using abusive debt collection practices are not competitiver
disadvantaged, and to promote consistent State action to protect consumers
against debt collection abuses.

The California legislature has determined that the banking and credit system
and grantors of credit to consumers are dependent upon the collection of just
and owing debts and that unfair or deceptive collection practices undermine
the public confidence that is essential to the continued functioning of the
banking and credit system and sound extensions of credit to consumers The
Legislature has further determined that there is a need to ensure that debt
collectors exercise this responsibility with fairness, honesty, and due regard
for the debtor’s rights and that debt collectors must be prohibited nom
engaging in unfair or deceptive acts or practices.l

EDWARD ARBVALO, IR. (“Plaintiff”), by Plaintift’s attomeys, brings this
Class Action Complaint for damages, injunctive relief, and any other available
legal or equitable remedies, to challenge the illegal actions RAZOR
CAPITAL LLC (“Defendant”) with regard to attempts by Defendant, debt
collector, to unlawfully and abusiver collect a debt allegedly owed by

Plaintiff, and this conduct caused Plaintiff damages.

 

' cat civ. code §§ 1738.1 (a)-(b)

 

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Case 5:14-cV-00135-.]AK-SP Document 1 Filed 01/22/14 Page 3 of 19 Page |D #:7

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Plaintiff makes these allegations on information and belief, with the exception
of those allegations that pertain to a Plaintiff, or to a Plaintiff‘s counsel, which
Plaintiff alleges on personal knowledge
While many violations are described below with specificity, this Complaint
alleges violations of the statutes cited in their entirety.
Unless otherwise stated, Plaintiff alleges that any violations by Defendant
were knowing and intentional, and that Defendant did not maintain procedures
reasonably adapted to avoid any such violation.
Unless otherwise indicated, the use of any Defendant’s name in this
Complaint includes all agents, employees, officers, members, directors, heirs,
successors, assigns, principals, trustees, sureties, subrogees, representatives,
and insurers of that Defendant named.

JuRlsDICTlON AND VENuE
Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331', 15 U.S.C. §
l682k and 28 U.S.C. § 1367 for supplemental state claims.
This action arises out of Defendant’s violations of (i) the Fair Debt Collection
Practices Act, 15 U.S.C. §§ 1692, et seq; (ii) the Califomia Consumer Credit
Reporting Agencies Act, Cal. Civ. Code §§ 1785.1. et seq.; and, (iii)

Califomia Business and Professions Code § 17200, et seq.

. Because Defendant conducts business within the State of California, personal

jurisdiction is established

. Venue is proper pursuant to 28 U.S.C. § 1391 for the following reasons: (i)

Plaintiff resides in the County of Riverside, State of Califomia which is within
this judicial district; (ii) the conduct complained of herein occurred within this
judicial district; and, (iii) Defendants conducted business within this judicial
district at all times relevant. See, for example, Razor Capital LLC v. Edward
Arevalo, Jr., RIC1301705 filed in the Superior Court of Califomia, County of
Riverside on February 1 1, 2013.

 

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Case 5:14-cV-00135-.]AK-SP Document 1 Filed 01/22/14 Page 4 of 19 Page |D #:8

 

 

 

 

1 PAR'rlEs

2 12. Plaintiff is a natural person who resides in the County of Riverside, State of
3 Califomia, from whom a debt collector sought to collect a consumer debt
4 which was due and owing or alleged to be due and owing from Plaintiff, and
5 is a “debtor” as that term is defined by Califomia Civil Code § l788.2(h). ln
5 addition, Plaintiff is a “consumer” as that term is defined by 15 U.S.C. §
7 l692a(3) and Cal. Civ. Code § 1785.3(c).

3 13. Plaintiff is informed and believes, and thereon alleges, that Defendant is a
9 company whose State of lncorporation and principal place of business is
10 Minnesota.

11 14. Plaintiff is informed and believes, and thereon alleges, that Defendant, in the
12 ordinary course of business, regularly, on behalf of themselves or others,

§ 13 engage in debt collection as that term is defined by Califomia Civil Code §

§ 14 1788.2(b), and are therefore “debt collectors” as that term is defined by

§ 15 ll Califomia Civil Code § 1788.2(¢) and 15 U.S.C. § 1692a(6).

§ 15 15. This case involves money, property or their equivalent, due or owing or
17 alleged to be due or owing from a natural person by reason of a consumer
13 ll credit transaction As such, this action arises out of a “consumer debt” and
19 “consumer credit” as those terms are defined by Cal. Civ. Code § 1788.2(0
20 and a “debt” as that term is defined by 15 U.S.C. l692a(5).

21 16. The causes of action herein also pertain to Plaintiffs “consumer credit report”
22 as that term is defined by Cal. Civ. Code § 1785.3(d), in that inaccurate
23 representations of Plaintiff’s credit worthiness, credit standing, and credit
24 capacity were made via written, oral, or other communication of information
25 by a consumer credit reporting agency, which is used or is expected to be
26 used, or collected in whole or in part, for the purposes of serving as a factor in
27 establishing Plaintiff’s eligibility for, among other things, credit to be used
23 primarily for personal, family, household and employment purposes

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Case 5:14-cV-00135-.]AK-SP Document 1 Filed 01/22/14 Page 5 of 19 Page |D #:9

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18.

Defendant is a partnership, corporation, association, or other entity, and is

therefore a “person” as that term is defined by Cal. Civ. Code § 1785.3@).
BACKGROUND

As discussed herein, Plaintist Class Action for Damages and Injunctive

Relief seeks to remedy Defendant’s unfair debt collection practice of illegally

demanding post-charge off interest despite Defendant’s predecessor in interest

waiving such fees and Defendant’s conduct of reporting said inaccurate

information to the Credit Reporting Agencies.

. On information and belief, it is Defendant’s policy and practice to add post-

charge off interest to consumer debts collected by Defendant.
A vast majority of the debts that Defendant seeks to collect are credit cards

originally issued by banks.

. As a standard practice, and for a variety of business reasons, most banks

waive interest on credit card debts after charge-off for as long as the debts are
held by the banks.

. Among other reasons for this practice, banks are now required to send

periodic statements on all accounts, including defaulted accounts, for any
period during which interest or fees are added to the account. Regulation Z,
12 C.F.R. § 226.5(b)(2)(i) (“A period statement need not be sent for an
account if the creditor deems it uncollectible, if delinquency collection
proceedings have been instituted, [or] if the creditor has charged off the
account in accordance with loan-loss provisions and will not charge any
additional fees or interest on the account...”). Banks generally prefer to

waive the interest and save the expense of preparing and sending statements

. Pursuant to applicable collection and contract laws, Defendant only purchases

what the predecessor in interest is able to sell. If Defendant’s predecessor in
interest waived the right to add interest post-charge~off, Defendant acquired
the alleged debts subject to that waiver.

 

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Case 5:14-cV-00135-.]AK-SP Document 1 Filed 01/22/14 Page 6 of 19 Page |D #:10

 

 

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1 24. Despite said waiver, Defendant continually seeks to collect post-charge#off
2 interest from Califomia consumers prior to filing collection actions against
3 “ these consumers and also during such collection actions. On information and
4 belief, Defendant also reports this inaccurate information regarding the
5 ,, amount of these alleged debts to the Credit Reporting Agencies.
6 FAcruAi. ALLEGATioNs
7 25. At all times relevant, Plaintiff is an individual residing within the State of
3 Califomia.
9 26. Plaintiff is informed and believes, and thereon alleges, that at all time
10 relevant, Defendant conducted business in the State of Califomia.
11 27. In or about 2011, Plaintiff allegedly incurred financial obligations to the
12 original creditor, Wells I~`argo Bank, N.A. (“Wells Fargo”), that were money,
§ 13 property, or their equivalent, which is due or owing, or alleged to be due or
51 14 owing, from a natural person to another person and were therefore “debt(s)”
§ 15 as that term is defined by Califomia Civil Code §1788.2(d), and a “consurner
§ 16 debt” as that term is defined by Califomia Civil Code §1788.2(f) and 15
17 U.S.C. § 1692a(6).
13 28. Plaintiff’s alleged credit card was allegedly incurred for personal, family and
19 household purposes.
20 29. Sometime thereafter, Plaintiff allegedly fell behind in the payments allegedly
21 owed on the alleged debt. Plaintiff currently takes no position as to whether
22 or not this alleged debt was actually owed.
23 30. Sometime prior to 2009, Wells Fargo allegedly assigned, placed, or otherwise
24 transferred, to Prestige Alliance, LLC (“Prestige Alliance”) thousands, if not
25 tens of thousands, of credit card accounts, for collection.
25 31. Following this alleged transfer, Prestige Alliance transferred the same
27 accounts to Defendant on or about December 17, 2009.
23 //l

 

 

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Case 5:14-cV-00135-.]AK-SP Document 1 Filed 01/22/14 Page 7 of 19 Page |D #:11

 

 

 

 

 

 

1 32. The “Agreement for Purchase and Sale of Charged~Off Accounts (“'l`he
2 " Agreement”)” was subsequently amended to include yet more consumer
3 accounts, including Plaintiff s alleged account.
4 33. Pursuant to The Agreement, the term “unpaid balance” “shall not include any
5 interest, fees or other charges accrued after the charged-off date of the
6 Account.”
7 ll 34. The Agreement continues to state that “[n]o post charge-off interest or fees
3 have been added to the Unpaid Balance.”
9 " 35. As a result of the alleged transfer, Plaintiff has received numerous telephone
10 calls and written communications from Defendant and/or Defendant’s agents
11 regarding the alleged debt. These telephone calls were “communications” as
12 l 15 U.S.C. § 1692a(2) defines that term, and a “debt collection” as that phrase
§ 13 is defined by Cal. Civ. Code § l788.2(b).
5_ 14 36. Specifically, Plaintiff received written communications from Defendant
§ 15 and/or Defendant’s agents dated October 31, 2012; and November 6, 2012
§ 16 attempting to collect Plaintiff"s alleged debt.
17 37 . Said written communications both identified an alleged “Charge Off Balance”
13 of $4,946.76.
19 38. Defendant demanded “Accrued Interest” at the rate of 10% per year from
20 January 31, 2011, a date following the original charge-off, illegally increasing
21 Plaintiff`s alleged debt by nearly $1,000.00.
22 39. As identified by Defendant’s written communications, the amount of
23 “Accrued Interest” continued to increase despite Prestige Alliance’s explicit
24 instructions to the contrary.
25 40. Through this conduct, Defendant violated 15 U.S.C. § 1692e by using false,
26 deceptive and misleading representations in connection with the collection of .
27 PlaintifPs alleged debt.
23 ///
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Case 5:14-cV-00135-.]AK-SP Document 1 Filed 01/22/14 Page 8 of 19 Page |D #:12

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. Through this conduct, Defendant violated 15 U.S.C. § l692e(2)(A) by falsely

representing the amount ofPlaintiff’s alleged debt.

. Through this conduct, Defendant violated 15 U.S.C. § 1692e(10) by using

false representations and deceptive means to collect Plaintiff’s alleged debt.

. Through this conduct, Defendant violated 15 U.S.C. § 1692f by using unfair

and unconscionable means to collect Plaintiff’s alleged debt.

. Through this conduct, Defendant violated 15 U.S.C. § 1692f(1) by attempting

to collect an amount not authorized by the agreement creating Plaintiff’s

alleged debt nor permitted by law.

. 'l`hereaher, Defendant filed a collection lawsuit against Plaintiff on February

ll, 2013 entitled Razor Capital LLC v. Edward Arevalo, Jr. and Does 1 to ] 0,
court case no.: RIC 1301705 in the Superior Court of Califomia, County of
Riverside (“the State Action”).

. In the State Action, Defendant demanded post charge-off interest at the rate of

10.000 percent per year from January 31, 2011.

. By attempting to collect post charge-off interest, Defendant violated 15 U.S.C.

§§ 1692e; l692e(2)(A); 1692e(10); 1692f; and, l692f(1) for the reasons

discussed above.

. Sometime thereafter, Plaintiff discovered that Defendant was furnishing

information to PlaintifPs credit reporting agencies that Plaintift’s alleged debt

included interest beyond what Defendant was permitted to collect.

. Through this conduct, Defendant has violated Cal. Civ. Code § 1785.25(a) by

fumishing information to consumer reporting agencies that Defendant knew

or should known was inaccurate.

. By reporting inaccurate information to the credit bureaus, Defendant has

continually attempted to collect payments from Plaintiff in a deceptive and
unfair manner, including by asserting that Plaintiff owes monies to Defendant

that are not owed.

 

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Case 5:14-cV-00135-.]AK-SP Document 1 Filed 01/22/14 Page 9 of 19 Page |D #:13

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. As a result of Defendant"s improper and unauthorized conduct, Plaintiff has

suffered actual damages due to Defendant’s misrepresentations regarding the

amount of Plaintiff"s alleged debt.

. Furthermore, Plaintiff is not alone; Defendant has improperly, unlawfully, and

without legal authority attempted to collect falsely inflated debts from
Plaintiff and other Califomia consumers This act and omission constitutes
unlawfiil, unfair, and fraudulent conduct under Califomia’s Unfair
Competition Law, Business & Prof`essions Code §17200 et seq. (the “UCL”);
and, violate the PDCPA.

CLAss ALLEGATloNS

. Plaintiff brings this action on his own behalf`, and on behalf of all others

similarly situated (“'I`he Class”) and (“'l`he Sub-Class”).

. Plaintiff represents, and is a member of, “The Class” defined as follows: (i) all

persons; (ii) from whom Defendant attempted to collect a credit card debt; (iii)
acquired by Defendant pursuant to the Agreement For Purchase and Sale of
Charged-Off Accounts between Prestige Alliance, LLC and Defendant dated
December 19, 2009 (iv) who had interest added by Defendant to the amount
of the alleged debt that had not been added by the alleged owner of the debt
prior to the purchase by Defendant; (v) at any time one year prior to the date
of the filing of this Action,

Plaintiff represents, and is a member of, “'l`he Sub-Class” defined as follows:
(i) all persons with addresses within the State of Califomia; (ii) from whom
Defendant attempted to collect a credit card debt; (iii) acquired by Defendant
pursuant to the Agreement For Purchase and Sale of Charged-Off Accounts
between Prestige Alliance, LLC and Defendant dated December 19, 2009 (iv)
who had interest added by Defendant to the amount of the alleged debt that
had not been added by the alleged owner of the debt prior to the purchase by
Defendant; (v) which alleged debt was the subject of a credit report issued by

 

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Case 5:14-cV-00135-.]AK-SP Document 1 Filed 01/22/14 Page 10 of 19 Page |D #:14

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Defendant (vi) at any time four years prior to the date of the filing of this

Action,

. Defendant and their employees or agents are excluded from the Class.

. Plaintiff does not know the exact number of persons in the Class, but believes

them to be in the several hundreds, if not thousands, making joinder of all

these actions impracticable

. The identity of the individual members is ascertainable through Defendant’s

and/or Defendant’s agents’ records or by public notice.

. There is a well-defined community of interest in the questions of law and fact

involved affecting the members of The Class and The Sub-Class. The
questions of law and fact common to the Class and The Sub-Class
predominates over questions affecting only individual class members, and
include, but are not limited to, the following:

a. Whether Defendant has a standard procedure of filing collection
actions with respect to the dates, amounts of interest, and rates of
interest;

b. Whether Defendant engages in a practice of adding interest to debts
for periods prior to the purchase of debts, that had not been added by
the alleged owners of the debts at the time;

c. Whether such practice violates the FDCPA;

d. Whether members of the Class are entitled to the remedies under the
FDCPA;

e. Whether members of the Classes are entitled to declaratory relief;

f. Whether Defendant should be enjoined from reporting such inaccurate
information to the credit reporting agencies;

g. Whether such practice violates Califomia Business and Professions
Code § 17200;

h. Whether members of the Classes are entitled to injunctive relief; and,

 

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Case 5:14-cV-00135-.]AK-SP Document 1 Filed 01/22/14 Page 11 of 19 Page |D #:15

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i. Whether members of the Classes are entitled to an award of

reasonable attorneys’ fees and costs of suit pursuant to the FDCPA.

. Plaintiff will fairly and adequately protect the interest of the Classes.

. Plaintiff has retained counsel experienced in consumer class action litigation

and in handling claims involving unlawful debt collection practices.

. Plaintiff’s claims are typical of the claims of the Class and The Sub-Class,

which all arise from the same operative facts involving unlawful collection

practices.

. A class action is a superior method for the fair and efficient adjudication of

this controversy.

. Class-wide damages are essential to induce Defendant to comply with the

federal and State laws alleged in the Complaint.

. Class members are unlikely to prosecute such claims on an individual basis

since the maximum statutory damage award of $1,000 is small. Management
of these claims is likely to present significantly fewer difficulties than those

presented in many class claims, e.g., securities fraud.

. Plaintiff, The Class and The Sub-Class seek injunctive relief against

Defendant to refrain from reporting such inaccurate information to the credit

reporting agencies.

. Defendant has acted on grounds generally applicable to the Class, and The

Sub-Class thereby making appropriate final declaratory relief with respect to

the class as a whole.

. Members of The Class and The Sub-Class are likely to unaware of their rights.

. Congress intended class actions to be the principal enforcement mechanism

under the FDCPA.

. Plaintiff contemplates providing notice to the putative class members by direct

mail in the form of a postcard and via publication

Plaintiffs request certification of a hybrid class combining the elements of

 

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Case 5:14-cV-00135-.]AK-SP Document 1 Filed 01/22/14 Page 12 of 19 Page |D #:16

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Fed. R. Civ. P. 23(b)(3) for monetary damages and Fed. R. Civ. P. 23(b)(2)
for equitable relief.
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VioLATloN OF THE FAIR DEBT CoL.LEcTroN PRAc'rlcEs AcT
15 U.S.C. §§ 1692-1692(p) (FDCPA)
[Against All Defendants]

Plaintiff incorporates by reference all of the above paragraphs of this
Complaint as though fully stated herein.
The foregoing acts and omissions constitute numerous and multiple violations
of` the FDCPA.
As a result of each and every violation of the FDCPA, Plaintiff, and the
members of The Class, are entitled to any actual damages pursuant to 15
U.S.C. § 1692k(a)(1); statutory damages for a knowing or willful violation in
the amount up to $1,000.00 pursuant to 15 U.S.C. § l692k(a)(2)(A); and
reasonable attorney’s fees and costs pursuant to 15 U.S.C. § l692k(a)(3) from
each Defendant individually.

CouN'r II

VroLATloN OF THE CALlFoRNlA CoNsuMsR CRED\T REPoRTlNG AGENClt-:s

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ACr
Cal. Civ. Code § 1785.1, et seq.
[Against All Defendants]
Plaintiff incorporates by reference all of the above paragraphs of this
Complaint as though fully stated herein.
The foregoing acts and omissions constitute numerous and multiple violations

of the Califomia Consumer Credit Reporting Agencies Act,

 

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Case 5:14-cV-00135-.]AK-SP Document 1 Filed 01/22/14 Page 13 of 19 Page |D #:17

1 77. ln the regular course of its business operations, Defendant routinely furnishes
information to credit reporting agencies pertaining to transactions between
Defendant and Defendant’s consumers, so as to provide information to a

consumer’s credit worthiness, credit standing and credit capacity.

2
3
4
5 78. Because Defendant is a partnership, corporation, association, or other entity,
5 and is therefore a “person” as that term is defined by Cal. Civ. Code §
7 1785.3(1), Defendant is and always was obligated to not fumish information
3 on a specific transaction or experience to any consumer credit reporting
9

agency if the person knows or should have known that the information is

10 incomplete or inaccurate, as required by Cal. Civ. Code § 1785.25(a). As a
11 party to the December 19, 2009 Purchase Agreement, Defendant knew or
12 should have known that Defendant was not able to charge interest on
§ 13 Plaintist alleged debt. 'I`hus, Defendant violated Cal. Civ. Code §
ai_ 14 1785.25(a).
§ 15 COUNT III
§ 15 VroLATloN OF Business ANr) PnoFEssroNs CoDE § 17200
17 [Against All Defendants]

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13 79. Plaintiff incorporates by reference all of the above paragraphs of this

19 Complaint as though fully stated herein.
20 80. Actions for relief under the unfair competition law may be based on any
21 business act or practice that is within the broad definition of the UCL. Such
22 violations of the UCL occur as a result of unlawful, unfair or fi'audulent
23 business acts and practices. A plaintiff is required to provide evidence of a
24 causal connection between a defendant's business practices and the alleged
25 harm--that is, evidence that the defendant's conduct caused or was likely to
26 cause substantial injury. lt is insufficient for a plaintiff to show merely that the
defendant's conduct created a risk of harm. Furthermore, the "act or practice"
:; aspect of the statutory definition of unfair competition covers any single act of

 

 

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KAZEROUNI LAW GROUI', A¥C

Case 5:14-cV-00135-.]AK-SP Document 1 Filed 01/22/14 Page 14 of 19 Page |D #:18

245 FISCHER AVENUB, uN!T Dl

1 misconduct, as well as ongoing misconduct
2 UNLAwruL
3 81. Califomia Business & Professions Code §17200 prohibits any “unlawful
4 business act or practice.” An unlawful business act or practice is an act or
5 practice that is both undertaken pursuant to business activity and also
6 forbidden by law. Any business act or practice that is unlawful, in the sense
7 that it violates a specific statute, be it civil or criminal, federal, state, or
municipal, statutory, regulatory, or court-made, may be enjoined under the
8 UcL.
9 82. As discussed above, Defendant has systematically and continuously attempted
10 to collect upon alleged debts neither owed by Plaintiff nor the Sub-Class
11 members. Defendant’s conduct constitutes violations 15 U.S.C. §§ l692e;
w 12 1692e(2)(A);1692e(s);1692e(10);1692f;and,1692n1). On infonnation and
§ 13 belief, Defendant has reported this inaccurate information to the Credit
§ 14 Reporting Agencies.
§ 15 83. Defendant’s unlawful business practices directly harmed Plaintiff and the
§ 16 members of the Class since Plaintiff and the members of the Sub-Class have
17 suffered monetary damages In addition, Defendant’s deceptive conduct lead
18 Plaintiff and the members of the Sub-Class to suffer damages through
19 Defendant’s perpetration of credit reports containing inaccurate and erroneous
20 information regarding the amount of Plaintiff’s and the Sub Class members’
21 alleged debts.
22 84. This illegal conduct exacerbated the substantial hardship currently being
23 suffered by Plaintiff and the Sub-Class Members since these consumers were
24 already experiencing extreme financial hardships as a result of the current
25 economic downturn. Furthermore, Defendant’s unlawful business practices
26 directly harmed Plaintiff and the members of the Class and as a result
27 statutory damages are now due to Plaintiff and the members of the Class.
28 85. Thus, Defendant’s conduct has violated the “unlawful” prong of Califomia
CLAss CoMPLAlN'r FoR DAMAGES AND INJuNc'rivE Rr~:LrF.F PAGE 14 or 19

 

 

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Case 5:14-cV-00135-.]AK-SP Document 1 Filed 01/22/14 Page 15 of 19 Page |D #:19

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Business & Professions Code § 17200.

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Califomia Business & Professions Code § 17200 prohibits any “unfair...
business act or practice.” Defendant’s acts, omissions, misrepresentations,
and practices as alleged herein also constitute “unfair” business acts and
practices within the meaning of the UCL in that its conduct is substantially
injurious to consumers, offends public policy, and is immoral, unethical,
oppressive, and unscrupulous as the gravity of the conduct outweighs any
alleged benefits attributable to such conduct There were reasonably available
alternatives to further Defendant’s legitimate business interests, other than the
conduct described herein. Plaintiff reserves the right to allege further conduct
which constitutes other unfair business acts or practices. Such conduct is
ongoing and continues to this date.
In order to satisfy the “unfair” prong of the UCL, a consumer must show that
the injury: (1) is substantial; (2) is not outweighed by any countervailing
benefits to consumers or competition; and, (3) is not one that consumers
themselves could reasonably have avoided.
Here, Defendant’s conduct has caused and continues to cause substantial
injury to Plaintiff and members of the Sub-Class. Plaintiff and members of
the Sub-Class have suffered injury in fact due to Defendant’s perpetration of
credit reports containing erroneous information regarding alleged debts
alleged to be due and owing. It should be noted that Plaintiff and the Sub-
Class Members are already facing dire financial situations. Furthermore, due
to Defendant’s unlawful, unfair and fraudulent practices, Plaintiff’s, and the
Sub-Class members’, credit ratings have declined. Thus, Defendant’s conduct
has caused substantial injury to Plaintiff and the members of the Sub-Class.
Moreover, Defendant’s deceptive conduct of collecting debts from consumers
that were not owed by said consumers solely benefits Defendant while
providing no benefit of any kind to any consumer. Such deception utilized by

 

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KAZEROUNI LAW GROUP, APC

Case 5:14-cV-00135-.]AK-SP Document 1 Filed 01/22/14 Page 16 of 19 Page |D #:20

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1 Defendant convinced Plaintiff and members of the Sub~Class that the alleged
2 debts were larger than previously believed. Thus, the injury suffered by
3 Plaintiff and the members of the Sub-Class is not outweighed by any
4 countervailing benefits to consumers
5 90. Finally, the injury suffered by Plaintiff and members of the Sub-Class is not
6 an injury that these consumers could reasonably have avoided. After
Defendant, a large debt collector, falsely represented that Defendant was
7 properly collection an inflated debt, these consumers suffered injury in fact
8 due to Defendant’s reporting of inaccurate information to the credit bureaus.
9 As such, Defendant took advantage of Defendant’s position of perceived
10 power in order to deceive Plaintiff and the Sub-Class members to make a
n payment toward an alleged debt that these consumers did not owe. Therefore,
o 12 the injury suffered by Plaintiff and members urine sub-class is nut an injury
§ 13 which these consumers could reasonably have avoided.
§ 14 91. Thus, Defendant’s conduct has violated the “unf`air” prong of Califomia
§ 15 Business & Professions Code § 17200.
§ 16 FRAUDuLENT
17 92. Califomia Business & Professions Code § 17200 prohibits any “fraudulent
18 business act or practice.” In order to prevail under the “fraudulent” prong of
19 the UCL, a consumer must allege that the fraudulent business practice was
20 likely to deceive members of the public.
21 93. The test for “fraud” as contemplated by Califomia Business and Professions
22 Code § 17200 is whether the public is likely to be deceived. Unlike common
23 law fraud, a § 17200 violation can be established even if no one was actually
24 deceived, relied upon the fraudulent practice, or sustained any damage.
94. Here, not only was Plaintiff and the Sub-Class members likely to be deceived,
25 but these consumers were actually deceived by Defendant. Such deception is
26 evidenced by the fact that Defendant’s reporting of inaccurate information to
27 the credit bureaus falsely represented Plaintiff and the Sub-Class members’
28
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Case 5:14-cV-00135-.]AK-SP Document 1 Filed 01/22/14 Page 17 of 19 Page |D #:21

credit worthiness. Plaintiff s reliance upon Defendant’s deceptive statements

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is reasonable due to the unequal bargaining powers of Defendant, a large debt

 

 

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: collector, and Plaintiff. For the same reason, it is likely that Defendant’s
4 haudulent business practice would deceive other members of the public.
s 95. Thus, Defendant’s conduct has violated the “fraudulent” prong of Califomia
2 Business & Professions Code § 17200.
2 || PRAVER FoR REL[EF
2 WHEREFORE, Plaintiff`, The Class Members and the Sub-Class Members prays
2 for judgment as follows:
12 ° Certifying the Class as requested herein;
11 ' Providing such further relief as may be just and proper.
12
§ 12 In addition, Plaintiff, The Class Members and the Sub-Class Members pray for
31 12 fi.lrther judgment as follows:
§ 12 ’ an award of actual damages, in an amount to be determined at trial,
§ 12 pursuant to 15 U.S.C. § l692k(a)(l), against each named Defendant
12 individually;
12 ' an award of statutory damages of $1,000.00, pursuant to 15 U.S.C. §
12 1692k(a)(2)(A), against each named Defendant individually;
22 ° an award of costs of litigation and reasonable attomey’s fees, pursuant to
21 15 U.S.C. § 1692k(a)(3), against each named Defendant individually;
22 ° an award of actual damages, in an amount to be determined at trial,
22 pursuant to Cal. Civ. Code § l785.31(a)(2)(A), against each named
2 22 Defendant individually;
25 ' award of attomeys’ fees and costs pursuant to Cal. Civ. Code §
22 l785.31(a)(l); and, Cal. Civ. Code § 1785.31(d) against each named
22 Defendant individually;
22 ///

 

 

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KAZEROUNI LAW GROUI’, APC

Case 5:14-cV-00135-.]AK-SP Document 1 Filed 01/22/14 Page 18 of 19 Page |D #:22

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* an award of punitive damages of $lOO-SS,OOO per willful violation of
Cal. Civ. Code § l785.25(a), pursuant to Cal. Civ. Code §
17 85.3 1(a)(2)(B);

° for equitable and injunctive relief pursuant to the FDCPA;

' for equitable and injunctive relief pursuant to Cal. Civ. Code §
1785.31(b).

' restitution of the funds improperly obtained by Defendant;

' for equitable and injunctive and pursuant to Califomia Business and
Professions Code § 17203; and,

° any and all other relief that this Court deems just and proper.

Dated: January 20, 2014 Respectfully submitted,

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TRIAL BY JuRY
96. Pursuant to the seventh amendment to the Constitution of the United States of
America, Plaintiff, The Class and The Sub~Class are entitled to, and demand,

a trial by jury.

Dated: January 20, 2014 Respectiiilly submitted,

KAzERouNl LAW GRouP, APC
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By:
/ S. MoH[q`MM»{D KAzF.RouNI, EsQ.
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Case 5:14-cV-00135-.]AK-SP Document 1 Filed 01/22/14 Page 19 of 19 Page |D #:23

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[ADDITIONAL PLAlNTlFF’s CouNsEL]

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" LAw oFFICEs oF Tol)l) M. FRIEDMAN, P.c.

 

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